
WENTWORTH, Judge.
Appellant asserts that the trial court erred in involuntarily committing appellant to Florida State Hospital as the section 394.467, Florida Statutes, criteria were not proven by clear and convincing evidence. By motion to dismiss appellee states that this appeal is moot in that appellant was released from Florida State Hospital on November 12, 1987. This court on March 28, 1988 entered an order denying the motion without prejudice to dismissal of the appeal as moot upon consideration of the parties’ briefs.
Because no collateral legal consequence of the involuntary commitment is shown, this appeal appears to be moot and is therefore dismissed.
SMITH, C.J., and WIGGINTON, J., concur.
